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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

THE ESTATE OF                       *
ANDREA S. PARHAMOVICH, et. al.,     *
     Plaintiffs,                    *
                                    *
     v.                             *           Case No. 1:17-CV-00061 (KBJ)
                                    *
ISLAMIC REPUBLIC                    *
OF IRAN, et al.,                    *
                                    *
      Defendants.                   *
********************************************************************************
         PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT ON LIABILTIY

       Plaintiffs by and through undersigned counsel respectfully move for default judgment on

liability against defendants the Syrian Arab Republic (“Syria”) and the Islamic Republic of Iran

(“Iran”), pursuant to Federal Rule of Civil Procedure 55(b), 28 U.S.C. § 1608(e), LCvR 7, and this

Court’s minute order entered on December 5, 2019. An Entry of Default as to defendants Syria and

Iran was entered on January 16, 2019 (ECF No. 22). Plaintiffs submit the following evidence in

support of this motion:

   •   Declaration of Vicki L. Parhamovich as personal representative of the Estate of Andrea

       Parhamovich and exhibits attached thereto;

   •   Declaration of Vicki L. Parhamovich and exhibits attached thereto;

   •   Declaration of André E. Parhamovich and exhibits attached thereto;

   •   Declaration of Marcella L. Zampini and exhibits attached thereto;

   •   Declaration of Chris Parhamovich and exhibits attached thereto;

   •   Declaration of Cory Parhamovich and exhibits attached thereto;

   •   Expert Report of Dr. Patrick L. Clawson and exhibits attached thereto;

   •   Expert Report of Charles R. Lister and exhibits attached thereto.




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       The grounds for this motion are set forth in the accompanying Memorandum of Points and

Authorities. Plaintiffs are prepared to present further briefing or live testimony at an evidentiary

hearing should the Court determine that further evidence is necessary. Plaintiffs intend to move for

leave to file proposed findings of fact and conclusions of law as to liability and damages should the

Court grant plaintiffs’ motion for default judgment on defendants’ liability is granted.

       Should the Court enter default judgment against defendants as to liability, plaintiffs are

prepared to submit testimonial and documentary evidence as to damages directly to the Court.




Dated: September 21, 2020                                                     Respectfully Submitted,

                                                                       /s/ Joshua M. Ambush_____
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